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                             UNITED STATES DISTRICT COURT FOR
                                 THE DISTRICT OF MARYLAND

United States of America                        *
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                                                           Case   No.: |:19-cr.00449
V                                               *
                                                *
Kenneth Ravenell                                *
                                                rF


                Defendant                       {<


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               MOTION TO SEAL DEFENDANTOS REPLY IN SUPPORT OF
                            MOTION TO SUPPRESS

       Mr. Kenneth Ravenell, by and through undersigned counsel, hereby moves this Court for

leave to file under seal Defendant's Reply in Support of his Motion to Suppress and all attached

exhibits. The basis of this request is that the Reply and exhibits refer to and quote extensively

from documents that are covered by this Court's Consent Discovery and Protective Order IECF-

371. In addition, they identify potential witnesses who have not been publicly identified and are

currently referenced only by initials in public filings.

       WHEREFORE, Mr. Ravenell requests that this Court grant this Motion and place the

Defendant's Reply in Support of his Motion to Suppress and all attached exhibits under seal.




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March 5,2020                       Respectfully submitted,

                                   SCHULTE ROTH &ZABELLLP




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                                  CERT       CATE OF'           CE


       I hereby certify that on this 5th day of March, 2020,I emailed a copy of Kenneth Ravenell's

Motion to Seal Defendant's Reply in Support of his Motion to Suppress to counsel for the United

States of   America. A true and correct copy was also filed in the District of Maryland.




                                                              Aislinn Affinito
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cc:

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